Appendix:D~* ECF No. 37-4, PagelD.1545 Filed 10/07/24 Page 1 of 6

38
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STATE OF MICHIGAN
45TH JUDICIAL DISTRICT, COUNTY OF OAKLAND
J.P. MORGAN CHASE BANK NA,

Plaintiff,
Vv

KATRINA BERGUNDER,

Defendant.
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BENCH TRIAL

BEFORE THE HONORARTLF MICHELLE FRIEDMAN APPEL, (P32709)
13600 OAK PARK BOULEVARD, OAK PARK, MICHIGAN 48237
On Tuesday, February 21, 2023

APPEARANCES:

For the Plaintiff: MR. JAMES MCARDLE (P82443)
Mandarich Law Group LLP
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(866) 757-4738

Appearing in Pro Per: MS. KATRINA BERGUNDER
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Oak Park, Michigan 48237

TRANSCRIBED BY: Ms. Kassandra Ginn, CER 8822
Certified Electronic Recorder
(248) 691-7442

District No. 22-00061GC

62

4 Page 2 of 6

39
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TABLE OF CONTENTS

WITNESSES: PLAINTIFF PAGE

None

WINESSES: DEFENDANT

None

EXHIBITS: MARKED ADMITTED

None

Case Ag 8-H A288 G SSI SHEED SIE CAORIB 86Y _hilqs Qe 0A3% Sege 49d 10/07/24 Page 4 of 6

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Oak Park, Michigan

Tuesday, February 21, 2023 - 10:17 a.m.

THE COURT: Calling 22-00061GC, J.P. Morgan vs.
Katrina Bergunder. Appearance on behalf of the Plaintiff.

MR. MCARDLE: Good morning, Your Honor. Jim McArdle
appearing on behalf of J.P. Morgan Chase.

THE COURT: Okay. And your name, please?

MS. BERGUNDER: Good morning, Your Honor. I'm
Katrina Bergunder, the defendant in this case, and I am
representing myself today.

THE COURT: So it's my understanding you sent in an
order dismissing the case, but it wasn’t stipulated to.

MR. MCARDLE: Correct, Your Honor.

THE COURT: So I assume that you have no objection
to this case being dismissed?

MS. BERGUNDER: Um, I do, Your Honor. I, I -- they
want to dismiss it without prejudice, and, um, as we have made
it all the way to the trial date.

THE COURT: I agree. I mean today are you ready to
proceed today, Counsel?

MR. MCARDLE: I am not, Your Honor. Um, I -- as
Your Honor is well aware there is difficulty in getting
certain evidence. I finally convinced my client to dismiss

this. The difficulty I have, Your Honor, is that my authority

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extends to dismissing without prejudice where there is

bankruptcy discharge, where there is a death, where there is

satisfaction in full.

THE COURT: Okay. So that's your position. I

understand that, but today is the date and time set for trial.

Plaintiff is unable to proceed. Case dismissed with
prejudice. Thank you.

MR. MCARDLE: Thank you, Judge.

MS. BERGUNDER: Thank you, Your Honor.

(At 10:18 a.m., proceedings concluded)

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7

4 Page 5of6

42
Case AS8- 2122887 FZBBRS SEC BA S41 CRORIB 837 - FilGUggony4 Fs0e Filed 10/07/24 Page 6 of 6

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STATE OF MICHIGAN)
COUNTY OF OAKLAND)

I, Kassandra Ginn, certify that this transcript, consisting of
5 pages, held on Tuesday, February 21, 2023, before the HONORABLE
MICHELLE FRIEDMAN APPEL, Chief Judge at the 45th District Court,
located at 13600 Oak Park Boulevard, Oak Park, Michigan, 48237, is
a complete, true, and correct transcript of the electronic

recordings.

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Date Kassandra Ginn, CER 8822

45th District Court
13600 Oak Park Boulevard
Oak Park, Michigan 48237
(248) 691-7442

43
